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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:15CR00305-01 JLH

DARNISHER HORN                                                                       DEFENDANT

                                             ORDER

        Assistant Federal Public Defender Lisa G. Peters has filed a motion to be relieved as counsel

of record for defendant Darnisher Horn in this matter. Good cause having been shown, the motion

is GRANTED. Document #68.

        IT IS THEREFORE ORDERED that CJA Panel Attorney Jonathan T. Lane is hereby

appointed to represent defendant Darnisher Horn in all further proceedings. Lisa Peters and the

Office of the Federal Public Defender are relieved from any further representation of the defendant

in this matter.

        IT IS SO ORDERED this 30th day of March, 2016.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
